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               Exhibit 3
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Charted claims
Non-Method claim: 1
US8788360B2                              Mastercard’s Tap on Phone (“The Accused Product”)
1. A system for    The accused product discloses a system (e.g., contactless payments) for processing a wireless
processing a       request (e.g., payment request) over a network based on a human-perceptible advertisement
wireless request   (e.g., informing to accept payments from any contactless card or mobile wallet from their NFC-
over a network     enabled device) for advertising to consumers a product or service offered by a vendor (e.g.,
based on a         SMEs/micromerchants and mobile venues, ticket agents, etc.), the advertisement (e.g.,
human-             informing to accept payments from any contactless card or mobile wallet from their NFC-
perceptible        enabled device) attached with at least one radio frequency identification (RFID) tag (e.g., NFC
advertisement      tag on a contactless card), the at least one RFID tag (e.g., NFC tag on a contactless card)
for advertising    being configured to transmit a wireless identification transmission signal (e.g., tag responds
to consumers a     with the requested information corresponding to a prompt for inputting a PIN) representing
product or         information pertaining to the product or service offered by a vendor (e.g.,
service offered    SMEs/micromerchants and mobile venues, ticket agents, etc.).
by a vendor, the
advertisement      As shown below, Mastercard Tap on Phone is a contactless payment system using Near Field
attached with at   Communication (NFC) technology wherein a user can Pay with your NFC-enabled contactless
least one radio    card to a phone which can accept payments. The phone equipped with Tap on Phone software
frequency          is a platform for displaying a human-perceptible advertisement for advertising a product or
identification     service offered by a vendor. The RFID tag (e.g., contactless card) transmits a wireless
(RFID) tag, the    identification transmission signal (e.g., tag responds with the requested information) in
at least one       response to the product or service offered by a vendor (e.g., SMEs/micromerchants and mobile
RFID tag being     venues, ticket agents, etc.).
configured to
transmit a
wireless
identification
transmission
signal
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representing
information
pertaining to the
product or
service offered
by a vendor
comprising:




                    https://www.mastercard.com/global/en/business/overview/start-accepting/mobile-pos/tap-on-
                    phone.html




                    https://www.mastercard.us/en-us/personal/ways-to-pay/contactless.html
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https://www.ietf.org/archive/id/draft-ietf-6lo-nfc-18.txt
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https://www.iso.org/standard/59643.html




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https://www.mastercard.us/en-us/business/overview/start-accepting/mobile-pos/tap-on-
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https://www.mastercard.us/en-us/business/overview/start-accepting/mobile-pos/tap-on-
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                  https://www.mastercard.us/en-us/business/overview/start-accepting/mobile-pos/iphone.html

mobile ordering   The accused product discloses mobile ordering device (e.g., NFC-enabled device) of a human
device of a       consumer who perceives the human-perceptible advertisement (e.g., accept payments from
human             any contactless card or mobile wallet from their NFC-enabled device), the mobile ordering
consumer who      device (e.g., NFC-enabled device) comprising a radio frequency identification reader (e.g.,
perceives the     reader of the e.g., NFC-enabled device) configured to transmit a signal (e.g., transmitting a
human-            continuous-wave (CW) RF signal to transmit a payment request to the contactless card) to the
perceptible       at least one RFID tag (e.g., NFC tag on a contactless card) attached with the advertisement
advertisement,    (e.g., accept payments from any contactless card or mobile wallet from their NFC-enabled
the mobile        device) and to receive in response (e.g., responds) from the at least one RFID tag (e.g., NFC
ordering device   tag on a contactless card) the wireless identification transmission signal (e.g., tag responds
comprising a      with the requested information corresponding to a prompt for inputting a PIN)) corresponding
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radio frequency     to the advertisement (e.g., accept payments from any contactless card or mobile wallet from
identification      their NFC-enabled device) and representing information pertaining to the product or service
reader              offered by the vendor (e.g., SMEs/micromerchants and mobile venues, ticket agents, etc.), the
configured to       mobile ordering device (e.g., NFC-enabled device) further configured to accept input (e.g.,
transmit a signal   online PIN using the merchant PIN pad or Signature i.e. the mobile ordering device acts as a
to the at least     POS device) from a consumer, generate an electronic request (e.g., payment request) with the
one RFID tag        received information from the wireless identification transmission signal (e.g., tag responds
attached with       with the requested information corresponding to a prompt for inputting a PIN)) and
the                 communicate the request (e.g., payment request) to and receive a response (e.g.,
advertisement       acknowledgement in the form of Done or a checkmark on the display screen) from a
and to receive in   commerce data system (e.g., payments from any contactless card or mobile wallet) across a
response from       network.
the at least one
RFID tag the        As shown below, Mastercard Tap on Phone is a contactless payment system using Near Field
wireless            Communication (NFC) technology wherein a user can Pay with your contactless card to a
identification      phone equipped with tap on phone software. Initial connection setup is established through a
transmission        radio frequency network wherein tag receives the instruction from the NFC Interrogator/reader
signal              or radio frequency identification reader (e.g., NFC antenna area) during the scanning process
corresponding       of the contactless card (equipped with an NFC Tag) and checks if it is valid. If it is a valid
to the              request, the tag then responds with the requested information. This information includes a
advertisement       prompt to enter the pin for continuing the payment.
and                 After the input of the pin, the device sends a request to the commerce data system to process
representing        the payment. Once the payment is processed, the commerce data system responds with an
information         approved message and an option to send receipt for the transaction as the response to the
pertaining to the   request.
product or
service offered
by the vendor,
the mobile
ordering device
further
configured to
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accept input
from a
consumer,
generate an
electronic
request with the
received
information
from the           https://www.mastercard.us/en-us/business/overview/start-accepting/mobile-pos/tap-on-
wireless           phone.html
identification
transmission
signal and
communicate
the request to
and receive a
response from a
commerce data
system across a
network;




                   https://www.mastercard.us/en-us/business/overview/start-accepting/mobile-pos/tap-on-
                   phone.html
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http://nearfieldcommunication.org/technology.html
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https://www.iso.org/standard/59643.html
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https://www.mastercard.us/content/dam/public/mastercardcom/na/us/en/documents/
contactless-merchant-toolkit.pdf
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https://www.mastercard.us/content/dam/public/mastercardcom/na/us/en/documents/
contactless-acquirer-toolkit.pdf
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                  https://www.mastercard.us/en-us/business/overview/start-accepting/mobile-pos/tap-on-
                  phone.html

the mobile        The accused product discloses the mobile ordering device (e.g., NFC-enabled device) in
ordering device   communication with the commerce data system (e.g., payments from any contactless card or
in                mobile wallet), the commerce data system (e.g., payments from any contactless card or
communication     mobile wallet) for receiving and processing the request (e.g., payment request) of the mobile
with the          ordering device (e.g., NFC-enabled device) across the network, and responding to the request
commerce data     (e.g., payment request) by sending information (e.g., acknowledgement in the form of Done or
system, the       a checkmark on the display screen) to the mobile ordering device (e.g., NFC-enabled device)
commerce data     via the network, the information associated with the wireless identification transmission signal
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system for         (e.g., tag responds with the requested information corresponding to a prompt for inputting a
receiving and      PIN).
processing the
request of the     As shown below, Mastercard Tap on Phone is a contactless payment system using Near Field
mobile ordering    Communication (NFC) technology wherein a user can Pay with your NFC-enabled contactless
device across      card to a phone equipped with tap on phone software to accept payments. The device
the network,       completes the payment request by sending a request to the commerce data system by
and responding     inputting an online pin from Merchant PIN Pad or signature. Once the payment is processed,
to the request     the commerce data system responds to the request by sending an acknowledgement to the
by sending         device.
information to
the mobile
ordering device
via the network,
the information
associated with
the wireless
identification
transmission
signal.
                   https://www.mastercard.us/en-us/personal/ways-to-pay/contactless.html
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